Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 1 of 13                        PageID #: 140




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

 THIS DOCUMENT RELATES TO:

 Rita Myrick v. Zimmer, Inc. et al., No. 2:17-cv-
 00480-JDL

 Robert Lloyd, et al. v. Zimmer Biomet
 Holdings, Inc. et al., No. 2:17-cv-00352-JDL

 Carol Waldeier v. Zimmer Biomet Holdings,
 Inc. et al., No. 2:18-cv-00004-JDL

 Earle Pride, et al. v. Zimmer, Inc. et al., No.
 2:18-cv-00108-JDL



                             STIPULATED PROTECTIVE ORDER

         The parties have stipulated to the entry of this Protective Order in regard to certain

discovery material to be made available by Defendants Zimmer, Inc., Zimmer US, Inc., and

Zimmer Biomet Holdings, Inc. (collectively, “Zimmer”) and by Plaintiffs Myrick, Lloyd, Waldeier

and Pride (the “Plaintiffs”). This discovery material could include trade secrets and confidential,

proprietary and non-public documents and information, the public disclosure of which could be

detrimental to the interests of Zimmer and/or related corporate entities and/or documents which

may contain information that is personal and confidential to third parties, including individuals.

This discovery material could also include Plaintiffs’ medical and financial records. The parties

agree that the above-described documents and information, including electronically stored

information, should be given the protection of an order of this Court to prevent irreparable harm

through disclosure to persons other than those persons involved in the prosecution or defense of

this litigation. Those persons involved in this litigation include the parties, the attorneys for the

parties, their staff, and the experts retained as consulting or testifying experts.



US.118957152.01                                    1
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 2 of 13                        PageID #: 141




         THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED,

ADJUDGED, and DECREED that the following Protective Order (“Order”) shall govern

discovery in the above-captioned matter, as follows:

         1.       The following definitions shall apply to this Order:

                  a.     The term “document” means all written, recorded, electronically stored, or

                         graphic material produced or created by a party or any other person, whether

                         produced pursuant to the Federal Rules of Civil Procedure, subpoena, by

                         agreement, or otherwise.

                  b.     A “stamped confidential document” means any document, including any

                         document produced electronically, which bears the legend (or which shall

                         otherwise have had the legend recorded upon it or upon the medium in

                         which it is produced, in a way that brings its attention to a reasonable

                         examiner) “CONFIDENTIAL” or “CONFIDENTIAL-SUBJECT TO

                         PROTECTIVE ORDER” to signify that it contains information subject to

                         protection under Federal Rule of Civil Procedure 26(c)(1)(G), or federal or

                         state statute or regulation. Interrogatory answers, responses to requests for

                         admission, deposition transcripts and exhibits, pleadings, motions,

                         affidavits, and briefs that quote, summarize, or contain materials entitled to

                         protection may be accorded status as stamped confidential documents, but,

                         to the extent feasible and practical, these documents shall be prepared in

                         such a manner that stamped confidential documents are bound separately

                         from those not entitled to protection.




US.118957152.01                                     2
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 3 of 13                         PageID #: 142




                  c.     The term “competitor” means any manufacturer or seller of medical

                         devices, other than the named defendants, distributors of Zimmer products,

                         or physicians implanting Zimmer products.

                  d.     The term “customer” means any direct purchaser of products from any

                         defendant, or any regular indirect purchaser of defendants. The term

                         “customer” is not meant to include the physicians, distributors, or sales reps

                         involved in the action before this Court.

         2.       Stamped confidential documents and their contents, as well as copies, summaries,

notes, memoranda and computer databases relating thereto, shall be and remain confidential.

Stamped confidential documents shall not be disclosed in any fashion, nor be used for any purpose

other than the analysis and preparation for discovery, motion practice, and/or the trial of this action,

except with the prior written consent of the party or other person originally designating a document

as a stamped confidential document, or as hereinafter provided under this Order.

         3.       Notwithstanding paragraph 2, stamped confidential documents may be disclosed to

the parties to this action; counsel of record for the parties to this action; the partners, associates,

secretaries, paralegal assistants, and employees of counsel of record to the extent reasonably

necessary to render professional services in the litigation; and to court officials involved in this

litigation (including court reporters, persons operating video recording equipment at depositions,

and any special master appointed by the Court). Such documents may also be disclosed:

                  a.     to any person designated by the Court in the interest of justice, upon such

                         terms as the Court may deem proper; and

                  b.     to persons noticed for depositions or designated as trial witnesses to the

                         extent reasonably necessary in preparing to testify; and to outside




US.118957152.01                                    3
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 4 of 13                         PageID #: 143




                         consultants or experts retained for the purpose of assisting counsel in the

                         litigation, so long as such persons are neither Defendants’ current

                         competitors, current employees for Defendants’ competitors, nor customers

                         of Defendants. Each person to whom disclosure is made pursuant to this

                         paragraph must sign a Confidentiality Agreement, the form of which is

                         attached hereto as Exhibit A. That Agreement shall then be returned to

                         counsel who shall retain any such Agreements during the pendency of the

                         litigation.

                  c.     If a party wishes to disclose stamped confidential documents to any person

                         listed in subparagraph 3(a) or 3(b) who is a customer of the party that so

                         designated the document, the party wishing to make disclosure shall give at

                         least 15 days advance notice in writing to the counsel who designated such

                         information as confidential, stating the names and addresses of the person(s)

                         to whom the disclosure will be made, identifying with particularity the

                         documents to be disclosed, and stating the purpose of such disclosure. If,

                         within the 15-day period, a motion is filed objecting to the proposed

                         disclosure, the disclosure shall not be made unless and until the Court has

                         denied such motion.

         4.       Each person executing the Confidentiality Agreement submits to the jurisdiction of

this Court for the purposes of enforcement of this Order, either prior to or following the completion

of this action. Jurisdiction of this action is to be retained by this Court after final determination for

purposes of enabling any party or persons affected by this Order to apply to the Court at any time




US.118957152.01                                    4
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 5 of 13                        PageID #: 144




for such direction or further decree as may be appropriate for the construction or enforcement of

this Order or for such additional relief as may become appropriate.

         5.       Nothing in this Order shall preclude the disclosure by a party of stamped

confidential documents that it has produced.

         6.       Nothing in this Order shall preclude the disclosure by any party of publicly

available documents or information.

         7.       Stamped confidential documents included as part of any pleading or memorandum

shall be filed in accordance with the Local Rules, and any procedures and/or orders issued by the

Court.

         8.       Persons with knowledge, including persons affiliated with Defendants, physicians,

distributors, and experts, may be deposed regarding stamped confidential documents or the subject

matter thereof. Only the parties and persons described in paragraph 3, including the court reporter

and the witness, shall be present at such depositions. Transcripts of said depositions shall be treated

as stamped confidential documents in accordance with this Order.

         9.       If, at the time of trial, counsel for any of the parties attempts to introduce into

evidence or use in cross-examination any stamped confidential documents, whether as part of a

document or deposition testimony, counsel for either party may request the Court to preserve the

confidentiality of that stamped confidential document as the Court deems appropriate.

         10.      In the event that another party disagrees with a party’s designation of any document

or information as confidential, the objecting party shall advise counsel for the designating party,

in writing, of the objection and identify the document or item with sufficient specificity to permit

identification. Within 10 days of receiving the objection, the designating party shall advise the

objecting party’s counsel whether the designating party will change the designation of the




US.118957152.01                                    5
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 6 of 13                       PageID #: 145




document or item. If this cannot be resolved between the parties, then the dispute will be presented

to the Court by motion or otherwise. During the pendency of any such motion, the designated

document or item shall continue to be treated as a stamped confidential document and subject to

the provisions of this Order. On the hearing of any such motion, the burden shall be on the

designating party to establish that the designated document or item should be deemed confidential.

         11.      If another court or an administrative agency subpoenas or orders production of

stamped confidential documents which a party has obtained under the terms of this Order, such

party shall promptly notify the party or other person who designated the document as confidential

of such subpoena, order or other legal process.

         12.      If a producing party inadvertently or unintentionally produces to a receiving party

any document or information without marking it as a stamped confidential document pursuant to

paragraph 1, the producing party shall, within 30 days of the discovery of the inadvertent

production, give notice to the receiving party in writing and thereafter the receiving party shall

treat the document as a stamped confidential document. Such inadvertent or unintentional

disclosure shall not be deemed a waiver in whole or in part of the producing party’s claim of

restriction either as to specific documents and information disclosed or on the same or related

subject matter.

         13.      If a producing party inadvertently or unintentionally produces to a receiving party

any document or information subject to a claim of privilege or immunity from discovery (including

but not limited to attorney-client privilege, work product immunity, and immunities created by

federal or state statute or regulation), the producing party shall, within 30 days of the discovery of

the inadvertent production, give notice to the receiving party in writing of the producing party’s

claim of privilege or immunity from discovery. Thereafter, the receiving party shall immediately




US.118957152.01                                    6
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 7 of 13                        PageID #: 146




return to the producing party the original and all copies of the restricted materials, including copies

of the restricted materials disseminated to other persons by the receiving party. The receiving

party will be deemed to have notice that material is restricted if the party reasonably should

recognize the material is privileged or protected from discovery, or upon written notice by the

producing party. Such inadvertent or unintentional disclosure shall not be deemed a waiver in

whole or in part of the producing party's claim of privilege or immunity from discovery either as

to specific documents and information disclosed or on the same or related subject matter. In the

event that the receiving party disagrees with the producing party’s claim of privilege or immunity

from discovery, then the receiving party shall notify the producing party within five (5) business

days of receipt of the producing party’s written notice of claim of privilege, and shall set forth the

precise grounds upon which the receiving party’s position rests. If the parties cannot resolve the

matter, then the dispute will be presented to the Court by motion or otherwise. During the

pendency of any such motion, the receiving party shall not copy, distribute, or otherwise use in

any manner the disputed documents or information, and shall instruct all persons to whom the

receiving party has disseminated a copy of the documents or information that the documents or

information are subject to this Order and may not be copied, distributed, or otherwise used pending

the motion and further notice from the Court.

         14.      The provisions of this Order shall not terminate at the conclusion of this lawsuit.

Within 90 days after final conclusion of all aspects of this litigation including appeals, stamped

confidential documents and all copies of same (other than exhibits of record) either shall be

destroyed or returned to the producing party. In the event that stamped confidential documents are

produced in electronic form, or are put into electronic form by the receiving party, then the

receiving party shall delete all electronic copies of stamped confidential documents from all




US.118957152.01                                    7
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 8 of 13                       PageID #: 147




computer systems, disks, and other electronic medium and devices. All counsel of record shall

make certification of compliance herewith and shall deliver the same to counsel for the party who

produced the documents not more than 120 days after final termination of this litigation.

         15.      The attorneys of record are responsible for employing reasonable measures to

control and record, consistent with this Order, duplication of, access to, and distribution of stamped

confidential documents, including abstracts and summaries thereof. No duplications of stamped

confidential documents shall be made except by counsel to provide working copies and for filing

in Court under seal pursuant to paragraph 7.

         16.      The Clerk may return to counsel or destroy any stamped confidential documents in

its possession.

         17.      It is expressly understood by and between the parties that in granting access to or

producing stamped confidential documents in this litigation, the producing party shall be relying

upon the terms and conditions of this Order.




US.118957152.01                                    8
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 9 of 13      PageID #: 148




 Dated: July 23, 2018

                               By: /s/Anthony Ferguson
                                      Anthony Ferguson

                               Anthony Ferguson
                               FALES & FALES
                               192 Lisbon Street
                               Lewiston, ME 04240
                               Telephone: 207.786.0606

                               Wendy R. Fleishman (pro hac vice)
                               Kelly K. McNabb (pro hac vice)
                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                               250 Hudson Street, 8th Floor
                               New York, New York 10013-1413
                               Telephone: 212.355.9500
                               Facsimile: 212.355.9592
                               wfleishman@lchb.com
                               kmcnabb@lchb.com

                               Attorneys for Plaintiff Myrick

 Dated: July 23, 2018

                               By: /s/Mark V. Franco
                                      Mark V. Franco

                               Mark V. Franco
                               84 Marginal Way, Suite 600
                               Portland, Maine 04101
                               Telephone: 800.727.1941
                               Facsimile: 207.772.3627

                               Wendy R. Fleishman (pro hac vice)
                               Kelly McNabb (pro hac vice)
                               Lieff Cabraser Heimann & Bernstein, LLP
                               250 Hudson Street, 8th Floor
                               New York, New York 10013-1413
                               Telephone: 212.355.9500
                               Facsimile: 212.355.9592
                               wfleishman@lchb.com
                               kmcnabb@lchb.com

                               Attorneys for Plaintiff Pride




US.118957152.01                        9
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 10 of 13          PageID #: 149




                                By: /s/Kevin M. Fitzgerald
                                        Kevin M. Fitzgerald

                                Kevin M. Fitzgerald
                                FITZGERALD LAW GROUP, LLC
                                120 Exchange Street
                                Suite 200
                                Portland, ME 04101
                                Telephone: (207) 874-7407
                                Facsimile: (207) 850-2120
                                Email: kfitzgerald@fitz-lawgroup.com

                                Attorney for Plaintiffs Lloyd and Waldeier



 Dated: July 23, 2018

                                By: /s/Christopher C. Taintor
                                       Christopher C. Taintor

                                Christopher C. Taintor
                                Mark Lavoie
                                NORMAN, HANSON & DETROY
                                Two Canal Plaza
                                P.O. Box 4600
                                Portland, ME 04112
                                Telephone: 207.774.7000
                                ctaintor@nhdlaw.com
                                mlavoie@nhdlaw.com




US.118957152.01                        10
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 11 of 13            PageID #: 150




                                       J. Stephen Bennett (pro hac vice)
                                       Peter A. Meyer (pro hac vice)
                                       FAEGRE BAKER DANIELS, LLP
                                       110 W. Berry Street, Suite 2400
                                       Fort Wayne, IN 46802
                                       Telephone: (260) 424-8000
                                       Stephen.bennett@Faegrebd.com
                                       Peter.meyer@faegrebd.com

                                       Jori M. Loren (pro hac vice)
                                       FAEGRE BAKER DANIELS LLP
                                       311 S. Wacker Drive
                                       Suite 4400
                                       Chicago, IL 60606
                                       Telephone: 312.212.6500
                                       Jori.loren@faegrebd.com

                                       Attorneys for Zimmer Defendants


APPROVED the 26th day of July, 2018.



                                           /s/ John C. Nivison
                                           U.S. Magistrate Judge




US.118957152.01                              11
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 12 of 13                     PageID #: 151




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

 THIS DOCUMENT RELATES TO:

 Rita Myrick v. Zimmer, Inc. et al., No. 2:17-cv-
 00480-JDL

 Robert Lloyd, et al. v. Zimmer Biomet
 Holdings, Inc. et al., No. 2:17-cv-00352-JDL

 Carol Waldeier v. Zimmer Biomet Holdings,              CONFIDENTIALITY AGREEMENT
 Inc. et al., No. 2:18-cv-00004-JDL

 Earle Pride, et al. v. Zimmer, Inc. et al., No.
 2:18-cv-00108-JDL




         1.       I acknowledge that I am about to receive confidential information supplied by

________________________.

         2.       I have read the Protective Order governing the restricted use of confidential

information in this litigation, a copy of which order has been provided to me. I understand the

Protective Order and agree to abide by it.

         3.       I will not utilize any stamped confidential document or other information subject

to the Protective Order for any purpose other than this litigation. I further affirm that I will not

reveal the confidential information to, nor discuss it with, anyone, except in accordance with the

terms of the Protective Order.

         4.       I understand unauthorized disclosures of stamped confidential documents or their

substance constitute contempt of court.

         5.       At the termination of this litigation, I will return all documents marked

“CONFIDENTIAL,” or “CONFIDENTIAL –SUBJECT TO PROTECTIVE ORDER,” as well as



US.118957152.01                                    12
Case 2:18-cv-00108-JDL Document 25 Filed 07/26/18 Page 13 of 13                       PageID #: 152




any copies, summaries or abstracts of them, and documents related to them, whether in hard copy,

electronic, or digitized format, to the attorney providing confidential materials to me.

         6.       I submit to the jurisdiction of the United States District Court for the District of

Maine as necessary to enforce the provisions of this Protective Order.



Dated: _______________________                  ____________________________________
                                                Signature

                                                ____________________________________
                                                Printed Name

                                                ____________________________________
                                                Address

                                                ____________________________________
                                                City, State, Zip

                                                ____________________________________
                                                Telephone Number




US.118957152.01                                    13
